Case 1:05-cv-01171-.]DT-STA Document 5 Filed 08/29/05 Page 1 of 5 ` Page|D 9

 

 

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IN THE UNITEI) sTATES DISTRICT CoURT 054(/ \
FoR THE WESTERN DIsTRICT oF TENNESSEE 939 00
EASTERN DIVISION ` z 45 '
'“[:;'~/?": ' \~,,m l al 4 7
MICHELLE BRoWN,
Plaintiff,

v. Case No. 1-05-1 l'/'l-T An

CBK, and PAULA PARDUE, Individually,

\_J~._/\_/~_,/\_/\~../\._/\_/\,/

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the Scheduling Conference set by written notice, the following dates

are established as the final dates for:

INITIAL DISCLosUREs (RULE 26(a)(1))= september 13, 2005

J()INING PARTIES:

For Plaintiff: November 14. 2005

Defendant: December l4, 2005
AMENDING PLEADINGS:

For Plaintiff: November 14, 2005

For Defendant: December 14, 2005

COMPLETING ALL DISCOVERY: l\/lay 15, 2006

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES
and REQUESTS FOR ADMISSIONS: May 15, 2006

(b) EXPERT DISCLOSURE (Rule 26(3)(2))=
(i) PLAINTIFF's EXPERTS: November 14, 2005
(ii) DEFENDANT's EXPERTS: January 10, 2006

(iii) SUPPLEMENTATION UNDER RULE 26(e): 10 Days
after Defendant's disclosure

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Case 1:05-cv-01171-.]DT-STA Document 5 Filed 08/29/05 Page 2 of 5 Page|D 10

(c) DEPOSITION OF EXPERTS: May 15, 2006
FILING DISPOSITIVE MOTIONS:
April 19, 2006

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)

(3))=
(a) For Plaintiff: June 5, 2006
(b) For Defendant: June 19, 2006

Parties shall have 10 days after service of final lists of Witnesses and
exhibits to file objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days and is SET for JURY TRIAL on
Wednesday, July ]9, 2006 at 9:30 a.m. A Joint Pre-Trial Order is due on July 17, 2006.
ln the event the parties are unable to agree on a Joint Pre-Trial Order, the parties must
notify the Court at least 10 days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by the
deadline for completion of discovery F or example__ if the FRCP allow 30 days for a party
to respond, then the discovery must be submitted at least 30 days prior to the deadline for
completion of discovery

Motions to compel discovery are to be filed and served by the discovery deadline
or Within 30 days of the default or service of the response, answer or objection, which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or the
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Locai Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 5 9, and 60 shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, Without leave of the court. If a party believes
that a reply is necessary, it shall file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for Which a reply is required

The parties do not consent to trial before the Magistrate Judge.

The parties are encouraged to engage in court-annexed attorney mediation or

Case 1:05-cv-01171-.]DT-STA Document 5 Filed 08/29/05 Page 3 of 5 Page|D 11

private mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extended

lT IS SO ORDERED.

255/vain 605

S. TI-IOMAS ANDERSON
UNITED STATES MAGISTRATE
.lUDGE

    
 

DATE:

Case 1:05-cv-01171-.]DT-STA Document 5 Filed 08/29/05 Page 4 of 5 Page|D 12

AGREED:

GIL ERT Ru_ss _ L, PLC - "‘- . .-:§r
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ATTORNEYS FOR PLAINTIFF

BAKER, DONELSON, BEARMAN, CALDWE`LL & BERKOWITZ, PC

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01171 was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

.lustin Gilbert

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Honorable .l ames Todd
US DISTRICT COURT

